 

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

ARKANSAS TEACHER RETIREMENT )
SYSTEM, THE CITY OF BRISTOL )
PENSION FUND, and THE CITY OF )
OMAHA POLICE AND FIRE
RETIREMENT SYSTEM, on behalf C.A. No. 15-12345-MLW
of themselves and all others
similarly situated,
Plaintiffs

Vv.

INSULET CORPORATION, DUANE
DESISTO, PATRICK J. SULLIVAN,
ALLISON DORVAL, and BRIAN
ROBERTS,

Defendants.

MEMORANDUM AND ORDER

 

WOLF, D.J. June 25, 2021

I. SUMMARY

The court has approved the settlement of this class action,
creating a common fund in the amount of $19,500,000. Four law
firms representing the class have jointly requested an award of
25% of the common fund, $4,875,000, as attorneys' fees. In certain
circumstances, such an award would be reasonable and most
appropriate. However, in this case, two of the four firms,

Bernstein Litowitz Berger & Grossmann LLP ("Bernstein") and Glancy
 

Prongay & Murray LLP ("Glancy"), made false and misleading
statements in support their requests for attorneys' fees. For the
reasons explained in this Memorandum, the court is awarding
Berstein and Glancy what they would have received pursuant to
agreement among counsel for the class if the court awarded 23% of
the common fund as attorneys' fees. The analogous statements of
the other two firms representing Lead Plaintiffs, Scott + Scott
Attorneys at Law LLP ("Scott") and Berman Tabacco ("Berman"), were
not deficient. Therefore, they are being awarded what they would
have received if the total attorneys' fee award were 25% of the
common fund.
II. BACKGROUND

This case is a securities fraud class action subject to the
Private Securities Litigation Reform Act of 1995 (the "PSLRA"), 15
U.S.C. §78u-4. Lead Plaintiffs are Arkansas Teachers Retirement
System ("ATRS"), the City of Bristol Pension Fund ("Bristol"), and
the City of Omaha Police and Fire Retirement System ("Omaha"). In
2018, ATRS was the Lead Plaintiff in another PSLRA class action
pending before this court, ATRS v. State Street Bank and Trust
Company, C.A. No. 11-10230-MLW ("State Street"). Lead Counsel for
the class in the instant case are Bernstein and Scott.

In State Street, in 2017, this court appointed a Master to
investigate the accuracy and reliability of representations made

by class counsel in connection with an attorneys' fees award of

2
 

 

 

$75,000,000. See C.A. No. 11-10230, Docket No. 173. In requesting
that award each of the firms involved provided the court with its
“purported "lodestar," which they knew the court would use to test
the reasonableness of the fee request. See State Street, 2020 WL
949885 (D. Mass. Feb. 27, 2020) at *2-3, *14, *16-17, *29, *32,
*35, *37-38, *48-52. The court appointed the Master in part
because several counsel had represented that "the hourly rates for
the attorneys and professional support staff in my firm [that were
used to calculate what the firm represented to be its "lodestar,"]
are the same as my firm's regular rates charged for their
services... ." State Street, 232 F. Supp. 3d 189, 192 (D. Mass.
2017). “In view of the well-established jurisprudence and the
representations of counsel, the _ court understood that in
calculating the lodestar plaintiffs' law firms had used the rates
they each customarily actually charged paying clients for the
services of each attorney... ." Id. However, the court
subsequently learned that the class counsels’ firms worked
exclusively, or almost exclusively, on a contingent fee basis and
no client had actually paid what were represented to be the
"regular rates charged." Id. at *6-7, *9, %*32, %*37-38. The
implications of class counsels’ misleading representations were
among the matters the Master was appointed to address.

At a March 9, 2018 hearing in the instant case on plaintiffs'

motion for preliminary approval of a proposed settlement, in

3
 

response to a question from the court, Bernstein partner James A.
Harrod represented that he was "familiar with the issues that
prompted [this court] to appoint a special master to review the
award of attorneys' fees in the Arkansas Teachers v. State Street
case." Mar. 9, 2018 Transcript ("Tr.") (Docket No. 120) at 13-
14. Nevertheless, in a sworn declaration filed on June 1, 2018,
in support of Lead Counsel's request for an award of attorneys’
fees in the amount of $4,875,000, representing 25% of the
$19,500,000 common settlement fund, Mr. Harrod wrote concerning
the calculation of Bernstein's lodestar that "(t]he hourly rates
for the attorneys . . . in my firm included in Exhibit 1 are the
same as the regular rates charged for their services, which have
been accepted in other securities or shareholder litigation."
Docket No. 129-3 at 94. At the August 2, 2018 hearing at which
the proposed settlement was approved, Mr. Harrod stated that
Bernstein works on a contingent fee basis and did not have any
clients who had actually paid the hourly rates represented in his
affidavit to be the regular rates charged for the services of the
attorneys who worked on this case. See Aug. 2, 2018 Tr. (Docket
No. 136) at 38. Mr. Harrod also stated that the preparation of
the fee petition had been supervised by ATRS' Executive Director
George Hopkins, who was also centrally involved in the State Street

case. Id. at 31-32, 57.
 

A partner in another firm seeking part of the requested award
of attorneys' fees, Joshua L. Crowell of Glancy Prongay & Murray
LLP ("Glancy"), also stated in his sworn declaration that with
regard to Glancy's lodestar "[t]Jhe hourly rates for the attorneys
. . . in my firm included in Exhibit 1 are the same as the regular
rates charged for their services, which have been accepted in other
securities or shareholder litigation." Docket No. 129-5, 43.
However, at the August 2, 2018 hearing Mr. Crowell too stated that
his firm worked almost exclusively on a contingent fee basis and
had very few paying clients. See Aug. 2, 2018 Tr. at 37. He could
not say that any client had ever paid what were represented to be
the regular rates charged for the Glancy attorneys who worked on
this case. Id. at 38.!}

A third firm seeking attorneys' fees in this case, Berman
Tabacco, ("Berman") stated with regard to its lodestar calculation
that "[tjhe hourly rates for the attorneys included in Exhibit 1
are their customary rates; my firm's hourly rates have been
accepted in other securities litigation." Declaration of Steven

J. Buttacavoli (Dkt. No. 129-6) at {M4. Berman also worked

 

1 With regard to Glancy, as well as other firms seeking
attorneys' fees, Mr. Harrod and William Fredericks of Scott
represented under oath that "relevant lodestar calculations [were]
based on that firm's current billing rates." Joint Declaration
(Dkt. No. 129) at 9180. However, none of the firms regularly billed
clients or had actual current billing rates.

5
 

 

primarily on a contingent fee basis. See Aug. 2, 2018 Tr. at 39.
Berman's representative at the August 2, 2018 hearing did not know
what rates the firm charged clients in the few cases in which it
billed clients at an hourly rate. Id.

The fourth firm seeking attorneys' fees, Scott, also worked
primarily on a contingent fee basis. Id. at 38-39. With regard
to the calculation of its lodestar, Scott stated that "[t]he hourly
rates for the attorneys and professional support staff in my firm
included in Exhibit 1 are the same as the regular rates which have
been accepted in other securities or shareholder litigation.”
Declaration of William C. Fredericks (Dkt. No. 129-4) at 93.

At the August 2, 2018 hearing, Mr. Harrod said that he
recalled the court asking him at the preliminary approval hearing
if he was familiar with the State Street Order in which the court
expressed its inclination to appoint a Master in part because of
possible misrepresentations concerning whether hourly rates
reportedly regularly charged were actually ever charged to
clients. See Aug. 2, 2018 Tr. at 40. He also stated that he had
read that Order. Id. However, he said the court's concern about
the reliability of the representations concerning the regular
rates charged "didn't pop to [his] mind." Id. at 47.

In essence, in 2017, in a series of published decisions in
State Street, the court appointed a Master to investigate the

reliability of representations made in connection with a request

6
 

for attorneys' fees in a class action in part because certain firms
that worked exclusively, or almost exclusively, on a contingent
fee basis represented that the rates used to calculate the
lodestars that would be used to test the reasonableness of the
requested fee award were "the same as [the firms'] regular rates
charged for their services." State Street, 2020 WL 949885, at
*32-37. At the hearing at which the settlement in this case was
preliminarily approved, before any application for attorneys' fees
was filed, the court asked whether counsel were aware of those
decisions and was assured that they were. Nevertheless, two of
the firms in this case used the language concerning their "regular
rates charged" that this court questioned in 2017, and found in
2020 to be false and misleading when used by several firms in State

Street. See State Street, 2020 WL 949885, at *32-35, *37, *48,

 

*54-55. Moreover, this occurred after George Hopkins, the
Executive Director who acted for Arkansas Teacher in State Street,
supervised preparation of the fee petition in this case and advised
class counsel concerning it. See Aug. 2, 2018 Tr. at 31-32, 44.
III. THE APPLICABLE STANDARDS

The usual standards employed in deciding the amount of
attorneys' fees to be awarded from a common fund were described in
detail by this court in its February 27, 2020 State Street
decision, see 2020 WL 949885, at *2, *12-14, *29, and are being

employed here.
 

In summary, the factors to be considered in awarding
attorneys' fees from a common fund include:

(1) the size of the fund and the number of persons

benefitted; (2) the skill, experience, and efficiency of

the attorneys involved; (3) the complexity and duration

of the litigation; (4) the risks of the litigation; (5)

the amount of time devoted to the case by counsel; (6)

awards in similar cases; and (7) public policy

considerations.
Id. at *2, *13, *29; see also Goldberger v. Integrated Res., Inc.,
209 F.3d 43, 50 (2d Cir. 2000).

"Within the First Circuit, courts generally award fees in the

range of 20-30%, with 25% as the benchmark.'" Id. at *12 (quoting

Bezdek v. Vibram USA Inc., 79 F. Supp. 3d 324, 349-50 (D. Mass.

 

2015)); see also In re Lupron Mktg & Sales Practices Litig., 2005
WL 2006833, *5 (D. Mass. Aug. 17, 2005). However, "'(t]he district
court may adjust the benchmark when special circumstances indicate
a higher or lower percentage would be appropriate." Id. (quoting

In re Pac. Enters. Secs. Litig., 47 F.3d 373, 379 (9th Cir. 1995)).

 

"In addition to considering whether a requested award is
reasonable based on the customary [] factors and any others that
are relevant in the unique circumstances of the case, courts in
the First Circuit and nationally regularly check the requested
award against the ‘lodestar’ to evaluate whether such an award
would be reasonable." Id. at 14. "A lodestar is properly
calculated by multiplying the number of hours reasonably spent on

the litigation by a reasonable hourly rate." Id. (citing cases).

8
 

Reasonable rates are calculated according to the prevailing rate
in the community. Id. (citing Blum v. Stenson, 465 U.S. 886, 895
(1984)). "'The rate that private counsel actually charges for her
services, while not conclusive, is a reliable indicium of market
value.'" Id. at *48 (quoting United States v. One Star Sloop
Sailboat, 546 F.3d 26, 40 (lst Cir. 2008) (emphasis added)).

In exercising its equitable authority to award attorneys'
fees from a common fund, the court acts as a quasi-fiduciary for

the class. See In re Fidelity/Micron Secs. Litig., 167 F.3d 735,

 

736 (lst Cir. 1999); In re Agent Orange Prod. Liab. Litig., 818

F.2d 216, 222 (2d Cir. 1987); In re Relafen Antitrust Litig., 360

 

F. Supp. 2d 166, 192-94 (D. Mass. 2005) (collecting cases). As
this court wrote in State Street:

This fiduciary duty can be difficult to discharge
because "the presentation of the settlement for judicial
approval is nonadversarial in nature: the prior
competing parties (class counsel and the defendants)
have resolved their differences and are now in harmony
in seeking the court's approval." 4 William B.
Rubenstein, Newberg on Class Actions § 13:40 (5th ed.
Dec. 2019 Update). Ultimately, courts have to rely on
counsel, particularly plaintiffs' counsel, to provide
the accurate and complete information necessary for the
court to exercise properly its discretion in awarding
attorneys’ fees. The Massachusetts Rules of Professional
Conduct impose on attorneys seeking a fee award in a
class action the duty to do so. See Mass. R. Prof. C.
3.3.

State Street, 2020 WL 949885, at *12; see also id. at 13
(explaining that Rule 3.3 of the Massachusetts Rules of

Professional Conduct treats a request for attorneys' fees from a

9
 

common fund as an ex parte proceeding, imposing a heightened duty
of candor on plaintiffs' counsel).

"In view of the fact that the adversary process is not
operating when attorneys representing a class seek a fee award, it
is especially important that they satisfy their duty of candor to
the court." Id. at *13, *31. Therefore, to promote an important
public policy, "({i]f counsel in a class action fail in their duty
to be candid with the court, it is permissible and appropriate for
the court to take this into account in deciding what amount within
the reasonable range is most appropriate to award as attorneys’
fees." Id. at *2; see also id. at *13, *32.

As class counsel acknowledged, see Aug. 2, 2018 Tr. at 57,
after the court decides the most appropriate amount to award as
attorneys’ fees, it "'has the ultimate authority to determine how
the aggregate fee is to be allocated among counsel.'" State
Street, 2020 WL 949885, at *53 (quoting 5 Rubenstein, Newberg on
Class Actions §15:23).

IV. DISCUSSION

In this case, absent important public policy considerations,
the other traditional factors would cause the court to award 25%
of the common fund, $4,875,000, as attorneys' fees, and allow the
four firms sharing them to divide the fee award in proportion to
their respective lodestars as they agreed. See Aug. 2, 2018 Tr.

at 34:20-28. However, as described earlier, in 2018, in

10
 

calculating and presenting to the court their lodestars, Bernstein
and Glancy each represented that they had used the "regular rates
charged for their [attorneys'] services" and this was not true.
As also described earlier, essentially the same false and
misleading statement was made by several firms in State Street.
Those statements contributed to this court's decision to appoint
the Master and, ultimately, to award attorneys' fees in the amount
of 20% of the common fund, $60,000,000, rather than the 25%,
$75,000,000, requested. See State Street, 2020 WL 949885, at *6-
10, *32-35, *37-38, *46.2 As this court wrote in State Street:
In a detailed Memorandum, [the Thornton Law Firm)
asserts that the language used in this’ case
characterizing the rates attributed to attorneys as each
firm's "regular rates charged for their services ..." is

"very common and is somewhat of a standard practice,"
although often the representation is not true. Dkt. No.

530 at 40. Thornton supports this assertion with two
volumes of exhibits. See Dkt. No. 530-4 (attaching 73
exhibits). Thornton correctly cites another ATRS class

action before this court, Ark. Teachers Ret. Sys. Vv.
Insulet Corp., No. 15-cv-12345-MLW (D. Mass.), in which
two of plaintiff's firms used the same language used by
Labaton, Thornton, and Lieff in this case and, in
response to questions from the court, acknowledged that

 

2 In State Street, it was the repeated egregious misconduct
of two firms - Labaton Sucharow LLP and The Thornton Law Firm -
that caused the court to find it was most appropriate to make an
award of attorneys' fees at the low end of the presumptive
reasonable range, 20%. See State Street, 2020 WL 949885, at *10,
*46-47; see also March 12, 2021 Mem. and Order Denying Mot. to
Stay (Case No. 11-10230, Docket No. 680) at 25-27, 50-51. False
and misleading representations concerning what were purportedly
the rates regularly charged was only one of the deficiencies in
the firms' conduct. See id.

 

11
 

they had no paying clients because they work
exclusively, or almost exclusively, on a contingent-fee
basis. See id. at 41. Thornton cites many other cases
before this court, before other judges in the District
of Massachusetts, and throughout the United States in
which the same or substantially similar statements,
which are likely false or misleading, have been made by
other firms that specialize in representing plaintiffs
in class actions. See id. at 42-58. Therefore, it
appears the lodestar check that district judges
regularly employ in making percentage of the common fund
awards is often fundamentally flawed and, at a minimum,
that the representations of counsel should be
scrutinized, rather than accepted on the assumption that
they satisfy the requirements of Rule 11 [of the Federal
Rules of Civil Procedure}.

State Street, 2020 WL 949885, at *48 (footnote omitted).

The fact that the false and misleading representations made
by Bernstein and Glancy concerning the "regular rates charged by
their attorneys" may be common, does not mean that they should be
ignored or excused. Rather, the fact that they were made after
the court indicated that counsel should be alert to the issues
that prompted the appointment of the Master in State Street
reinforces the importance of assuring that such deficient conduct
has consequences in order to encourage counsel to be scrupulous in
satisfying their duty of candor to the court, particularly in what
is deemed to be an ex parte request for attorneys' fees.

As the court explained in State Street, "[c]ourts have a duty
to promote and protect the integrity of judicial proceedings."
State Street, 2020 WL 949885, at *13. Therefore, in exercising

its equitable authority to award attorneys' fees, it is permissible

12

 
 

 

and appropriate for the court to take misleading representations
of counsel into account in making a fee award. See id.

If Bernstein and Glancy were the only firms sharing the fee
award, the court would award as attorneys' fees 23%, rather than
25%, of the $19,500,000 common fund, meaning $4,485,000, plus
interest. However, this would unfairly penalize Scott and Berman,
which did not err in their representations to the court with regard
to the rates each used to calculate their respective lodestars.?
To the contrary, Scott's statement that "the hourly rates for the
attorneys ... in my firm. . . are the same as the regular rates
which have been accepted in other securities or shareholder
litigation" was not misleading. If true, this is a statement that
could and should have been made by Berman and Glancy too.

Accordingly, the court is exercising its equitable authority
to allocate the fee award that it is making among counsel, and
awarding Scott and Berman what each would have received, pursuant
to their agreement with other counsel for the class, if the court
made a total award of 25% of the $19,500,000 common fund. It is
awarding Bernstein and Glancy what they would have received if the

total award were 23% of the common fund. More specifically, based

 

3 Scott did state that the other firms' lodestars were based
on their "current billing rates," when none of the firms had rates
they used regularly to bill clients. See footnote 1, supra.

13
 

 

on the calculations included in Exhibit 1 hereto, the court is
awarding attorneys' fees in a total amount of $4,608,240, plus
interest, allocated as follows: $2,264,925 plus interest to
Bernstein; $802,815 plus interest to Glancy; $1,457,625 plus
interest to Scott; and $82,875 plus interest to Berman.

The court is also awarding counsel the costs and expenses in
the amount requested, $362,954.28, which the court finds to be
reasonable.

Vv. SERVICE AWARDS

The PSLRA gives the court the authority to make service awards
to representatives of the class to reimburse them for their
reasonable costs and expenses in connection with the litigation
and settlement of the case. See 15 U.S.C. §78u-4(a) (4). However,
whether or not to make such an award is within the court's
discretion. See S. Rep. No. 104-98, at 10 (1995) ("[T]he Committee
grants courts discretion to award the lead plaintiff reimbursement
for ‘reasonable costs and expense'"); H.R. Conf. Rep. No. 104-369
(1995) ("The Conference Committee . . » grants the courts
discretion to award fees [to lead plaintiffs]"). See also Swack

v. Credit Suisse First Bos., LLC, 2006 WL 2987053, at *5 (D. Mass.

 

Oct. 4, 2006) (discussing discretionary standard).
Bristol and Omaha are two of the three class representatives
in this case. Each has since the outset been represented by Scott,

whose submission to this court concerning its own billing rates

14
 

was not misleading. Bristol's Declaration (Docket No. 129-8) and
Omaha's Declaration (Docket No. 129-9) each persuade the court
that it should exercise its discretion to make service awards to
them in the amounts requested. Therefore, the court is ordering
that from the common fund Bristol receive $14,950 and Omaha receive
$13,975.

ATRS requests a service award in the amount of $4,995. See
Decl. of Rod Graves (Dkt. No. 129-7) at 5. According to its
Declaration, among other things, ATRS undertook to review the
reasonableness of the proposed award of attorneys' fees and
evaluated lead counsel's fee request. See id. at 9495, 10. That
review and evaluation was done, at least in part, by George
Hopkins, the Executive Director of ATRS who acted for ATRS in State
Street. See Aug. 2, 2018 Tr. at 31-32, 44.

Nevertheless, Bernstein, the firm that ATRS retained for this
case and that ATRS was reportedly monitoring, made false and
misleading statements to the court that were comparable to the
false and misleading statements that ATRS' counsel made to the
court in State Street. Bernstein did so after this court appointed
a Master in State Street in part because, as ATRS knew, of concern
about the reliability of such statements.

In State Street, the court awarded ATRS $10,000 less than
requested because it found that ATRS was "deficient in directing

and supervising" its counsel, as exemplified by its conduct in

15
 

connection with their request for attorneys' fees. State Street,
2020 WL 949885 at *56. In this case, the court is exercising its
discretion to make no service award to ATRS in the hope that this
frequent lead plaintiff, at least, will be encouraged to supervise
its counsel properly in future cases.

VI. CONCLUSION

In State Street, this court concluded that to discharge their
fiduciary duties, "it is important that judges scrutinize . .
motions for awards of attorneys' fees, even - indeed especially -
when such motions are not opposed." State Street, 2020 WL 949885
at *57. The court has done so in this case. It is disappointed
to have discovered that deficiencies in the conduct of counsel
that contributed to the appointment of the Master in State Street
occurred in this case as well.

The court hopes that its decision in this case will be another
reminder to counsel that their representations with regard to
requests for attorneys' fees, among other things, will be
scrutinized by judges, and that there will be consequences if they
have not satisfied their duty to provide the court information
that is accurate, complete, and reliable.

This decision should also be a reminder that, as this court
wrote in State Street, "[c]landid, capable counsel will easily

survive such scrutiny." State Street, 2020 WL 949885 at *57. The

16

 
 

court hopes and trusts that in the future all counsel will prove
to be candid and capable in their presentations to the court.
VII. ORDER

In view of the foregoing, it is hereby ORDERED that:

1. Plaintiffs' Motion for an Award of Attorneys' Fees and
Reimbursement of Litigation Expenses (Docket No. 127) is ALLOWED
in the manner described in this Memorandum and Order. More
specifically, $4,608,240, plus interest, is awarded to counsel for
plaintiffs as reasonable attorneys’ fees. From the $4,608,240, a
total of $2,264,925, plus interest, shall be paid to Bernstein;
$802,815, plus interest, shall be paid to Glancy; $1,457,625, plus
interest, shall be paid to Scott; and $82,875, plus interest, shall
be paid to Berman. In addition, $362,954.28, plus interest, is
awarded to counsel for plaintiffs as reasonable litigation
expenses.

2. $28,925, plus interest, is awarded to Bristol and Omaha
P&F as service awards. More specifically, $14,950, plus interest,
shall be paid to Bristol, and $13,975, plus interest, shall be

paid to Omaha.

 

17
